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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-80116-CR-CANNON/McCabe


   UNITED STATES OF AMERICA

   vs.

   RYAN WESLEY ROUTH,

           Defendant.
   __________________________________/

         GOVERNMENT’S UPDATED STATUS REPORT REGARDING DISCOVERY

          Pursuant to the Court’s December 23, 2024 Order (ECF 91), the United States respectfully

   submits this discovery status report. The prosecution previously filed a discovery status report on

   November 22, 2024 (ECF 76). We rely upon that report for a detailed discussion of discovery

   produced by the Government in this case up to the date of its filing. What follows is an update

   on the status of discovery between then and now, highlighting as well the continued absence of

   any defense discovery and the impact of that on the Government’s upcoming pretrial deadlines.

                                              Background

          On September 15, 2024, the Defendant, a convicted felon with a lengthy criminal history,

   attempted to kill then-Major Presidential Candidate, now President, Donald J. Trump. He did so

   by camping on the perimeter of the Trump International Golf Course while the President was

   playing golf, and creating a sniper hide armed with a loaded SKS-style rifle bearing an obliterated

   serial number aimed directly at the course. When a Secret Service agent came across Routh in

   the tree line shortly before the President would have come into range, Routh targeted the agent

   before fleeing the golf course in a Nissan Xterra with a Florida license plate not registered to that

   vehicle.
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           Law enforcement arrested Routh on September 15, and a federal grand jury later indicted

   him for multiple crimes giving rise to this prosecution. The Indictment (ECF 21) charges Routh

   with attempting to assassinate a Major Presidential Candidate, assaulting a federal officer, being a

   felon in possession of a firearm, possessing a firearm with an obliterated serial number, and using

   a firearm in furtherance of a crime of violence. On September 23, 2024, Magistrate Judge

   McCabe detained Routh pending trial, finding that the defendant posed a danger to the community

   and a risk of flight due to, among other things, his history and strong evidence of his effort “to

   stalk [President-elect] Trump over a 30-day period in an attempt to assassinate him.” (Det. Hrg.

   Tr.:129 (ECF 17)).

           In its prior status report, the United States described in depth the discovery it had provided

   to the defense, and its plan for sharing further discovery (see ECF 76). We also reminded the

   Court that this is an entirely reactive case, with no investigation of the assassination attempt before

   it happened, meaning that a large volume of potential information was gathered by investigators

   focused at that time primarily on assessing and defusing the threat.

           The Court addressed discovery, among other topics, at the status conference on December

   11, 2024 (see ECF 88). In its subsequent December 23 scheduling order, the Court observed that

   “notwithstanding Defendant’s hints to the contrary, the United States has complied with its

   discovery obligations, and there is no indication of any unreasonable delays or cause for concern

   in the United States’ production of discovery.” (ECF 91:4). The Court also cautioned the defense

   that its deadline for defense expert disclosures “and related deadlines set forth in this Order, go

   well beyond the date by which Defendant’s reciprocal obligations were triggered in this case.”

   (id.:6 n.6).


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                               Updates on Discovery Provided to Date

          A. Documents and Electronic Data

          Since the last status report (ECF 76), the United States has served five further written

   responses to the Standing Discovery Order (SDO) (ECF 80, 90, 94, 97, and 101).               The

   undersigned prosecutors have provided this additional discovery as promptly as possible once it

   became available to us. The productions are:

    Responses        Date                 Content:                   Bates Range        Production
                   Produced                                                                 Size
   Fourth SDO     12/4/2024     Jail Communications             Gov007524-007627        0.14 GB
   Response
   [ECF 80]
   Fifth SDO      12/20/2024    Jail Communications             Gov007628-009094        260 GB
   Response                     Law Enforcement Reports
   [ECF 90]                     Records
                                Video Evidence
                                Signed Search Warrants
                                Body Worn Camera Footage
   Sixth SDO      1/10/2025     Search Warrant Returns          Gov009095-015827        469 GB
   Response                     Device Extractions
   [ECF 94]                     Drone Footage
                                Third Party Security Footage
                                Real Time Traffic Camera
                                Footage
                                PBC School Police Footage
                                Oran Routh Search Warrant
                                FBI Body Worn Camera Footage
                                FBI Digital Media Reports
                                Jail Communications
                                USSS Reports
   Seventh SDO    2/6/2025      Third Party Security Footage    Gov015828-019489        55 GB
   Response                     Third Party Device
   [ECF 97]                     Communications
                                USSS Reports
                                Drone Footage
                                Hawaii Search Warrant ERT Log
                                FBI Reports and Attachments
                                Law Enforcement Reports
                                Jail Communications
                                Photographic Evidence
                                Records


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   Eighth SDO      2/28/2025    Law Enforcement Reports           Gov019490-019842        30 GB
   Response                     Photographs and Videos
   [ECF 101]                    Records
                                Jail Communications
                                Interview Recordings
                                Protection Memo
                                Separate Drive of Drone Imagery
                                ATF Reports                       GovExp011259-011291



          Throughout this process, to ensure the case remains on track, the prosecution team has

   responded to questions from defense counsel about the location of items in the discovery even

   when not required to do so. For example, on February 10, 2025, defense counsel emailed us to

   ask whether a copy of the letter from the Defendant to his son Oran, referenced in a supplemental

   discovery filing, was itself provided in the discovery. We replied the next day, February 11, that

   “photographs of the envelope and documents mailed by the defendant to Oran Routh were

   produced in our first SDO response as Bates Nos. Gov003245-3264 ([ECF No. 49] at 2.”

   Similarly, on February 24, defense counsel forwarded to us an email from her paralegal stating

   that she had not received documents referenced in the Government’s recent supplemental expert

   disclosure. We responded that same day by reminding the defense, as we told them at the time of

   this disclosure, that the documents in question were made available on USAFX on February 3 and

   remained available to them for download and review. We have also repeatedly followed up – as

   recently as last week – with the defense about the availability of evidence that we told them

   required a hard drive which we had not yet received.

          We mention these exchanges not to call out the defense, but to demonstrate further for the

   Court that we are going above and beyond in complying with our discovery obligations. Indeed,

   as we told the Court in our prior status report, the fact we are producing searchable FBI 302s in


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   the volume we have (including 302s that essentially identify key items of evidence from the digital

   searches) is further proof that we are doing more than is required to assist the defense in preparing

   for trial.1

            B. Physical Evidence

            The United States, at defense request, facilitated a visit by the defense to the golf course

   crime scene on February 25, 2025, before the deadline set by the Court’s Order (ECF 91:6). We

   took the lead in setting up arrangements for this visit even though the prosecution team obviously

   does not control the course, which is private property. Likewise, to accommodate a defense

   request, the prosecution team ensured that the firearm, scope, magazine, ammunition, and anti-

   ballistic plates were transported from the FBI’s lab in Quantico, Virginia, to the FBI Field Office

   in Miramar so the defense could inspect it, with purported consultants in tow, in South Florida

   after the golf course visit. The defense had asked us to make this viewing happen on the same day

   as the golf course visit because their consultants were only available, they said, to make a single

   trip to South Florida. As we told defense counsel, their request to inspect the firearm in this

   manner was highly unusual in the experience of the FBI, but nonetheless we made it happen.

            As for the remaining physical evidence in the case, all of it is at FBI’s main facility in

   Miramar or in transit thereto. When we have a complete list of what the defense wants to

   examine, it will be made available to the defense for inspection at a mutually convenient time and

   place.


            1
             To date we have produced over 200 FBI 302 interview reports, a disclosure which is not
   required by any discovery rule or the Jencks Act. See United States v. Judon, 581 F.2d 553, 556
   (5th Cir. 1978) (holding FBI interview reports were not Jencks Act material and were thus not
   producible to defendant at trial).


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          C. Expert Discovery

          In compliance with the Court’s deadline (ECF 91:6), the United States provided a

   supplemental expert disclosure on February 3, 2025. This supplement was limited, as we already

   had provided the lion’s share of expert discovery required at this point by Fed. R. Crim. P. 16 and

   Local Rule 88.10. The supplemental disclosure contained:

                    An amended CV for the previously-disclosed document examiner, Rachel Clay

                     (GovExp011248-011251).

                    A CV and summary of expected testimony from Special Agent Nicholas Schnelle,

                     Special Agent, Federal Bureau of Investigation, Special Weapons and Tactics Team

                     (GovExp011252-011253), expanding upon a disclosure already made earlier by the

                     prosecution, and identifying the witness by name.

                    A CV and summary of expected testimony from Randy Walters, Destructive

                     Device Examiner, Bureau of Alcohol, Tobacco, Firearms and Explosives

                     (GovExp011254-011258), regarding his ongoing analysis of the ammunition and

                     potential destructive device components found inside the gray Sterilite bin placed

                     by the Defendant at a private residence in Greensboro, North Carolina, including

                     the capacity of that ammunition and/or those components to kill or seriously injure

                     a human being.

          On February 28, the Government made available Mr. Walters’ report, tracking our earlier

   disclosure.




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                         Anticipated Future Discovery from the Government

           There are additional areas of potential discovery that the prosecution team is continuing to

   gather and review.     To that end, the Government anticipates it will produce the following

   additional materials beyond what it has already produced: photographs and law enforcement

   reports memorializing a January 30, 2025 search of the Nissan Xterra; law enforcement reports

   summarizing third party interviews; limited, outstanding subpoena returns; U.S. Secret Service

   radio communications; and Cellebrite reports of electronic devices belonging to Routh, or

   belonging to third parties, that also contain communications with Routh.2 Some of these items the

   prosecution team does not yet possess or has only recently acquired; others still require review

   and/or redactions of sensitive information. We will continue to work expeditiously.

                                            Defense Discovery

           The defense did not provide any “notice of an insanity defense, notice of expert evidence

   of a mental condition, or motion for mental competency or for relief related to Defendant’s mental

   condition” by the Court’s deadline of February 3. As the Court explained, this deadline was

   “necessary to ensure a just, orderly, and speedy trial and is reasonable given the procedural history

   of this case.” (ECF 91:6). So those issues, at least, are off the table for trial.

           Ordinary defense discovery, however, remains a concern. Nothing has been provided.

   We recognize that the deadlines for defense discovery are some ways away: March 28 for defense

   expert disclosures outside of mental health topics, and June 6 for non-expert items (id.). It defies




           2
            These Cellebrite reports were not previously produced as the Government has been
   awaiting a hard drive from defense counsel on which to copy these reports. On February 27,
   2025, defense counsel advised that a hard drive would be delivered to the Government for this
   purpose on March 3, 2025.
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   belief, however, that six months into this case the defense has not identified a single item that it

   reasonably expects to use in its case-in-chief at trial (which is the minimum required by Rule 16,

   see Fed. R. Crim. P. 16(b)(1)(A)). The absence of defense discovery is more striking because

   Routh has continued to publicize himself through communications to the media. See, e.g., NEW

   YORK POST, Alleged would-be Trump ‘assassin’ Ryan Routh offers to become Hamas hostage in

   bizarre letter, available at https://nypost.com/2025/01/04/us-news/alleged-would-be-trump-

   assassin-ryan-routh-offers-to-become-hamas-hostage-in-bizzare-letter/ (last accessed Feb. 26,

   2025).

            The greater problem is that these late defense discovery deadlines, and Routh’s refusal to

   provide information to us on a rolling or “as available” basis, makes this Court’s timetable for pre-

   trial motions virtually impossible for the Government to meet. For example, the Government

   cannot realistically be expected to prepare and file Daubert motions to exclude any proposed

   defense experts – at least motions of the quality and helpfulness this Court should expect – in the

   short time (five business days) between March 28 and the current motions deadline of April 7.

   This is in sharp contrast to the defense, which has possessed the vast majority of the Government’s

   expert disclosures since November 17, 2024 – i.e., four months ago. And to the extent the April

   7 deadline applies to motions in limine, the Government obviously cannot move in limine to

   exclude evidence that the defense has not yet even proposed to introduce. This is problematic

   because the Court earlier directed that the parties may file only one motion in limine for the whole

   case (ECF 29). The United States will be prepared to discuss these timing concerns at the

   upcoming status conference and present reasonable alternative dates, but for present purposes, it

   is enough to highlight that the absence of rolling defense discovery is hampering the prosecution


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   and incompatible with the Court’s deadlines.

                                             Conclusion

          The Government has continued to comply with the Court’s deadlines, and has produced

   discovery in SDO responses accompanied by detailed indices (attached), as well as in separate

   communications with the defense. We will continue to comply with our obligations. The

   Government will, of course, be prepared to address any of these topics for the Court at the

   upcoming status conference.

                                                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I electronically filed the foregoing document and attached

   indices with the Clerk of the Court using CM/ECF on February 3, 2025.

                                                     /s/ John C. Shipley
                                                     Assistant United States Attorney




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